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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                      )
                                               )
            v.                                 )      CASE NO. 1:21-mj-00319
                                               )
JENNIFER HEINL                                 )
                                               )
                   Defendant.                  )      Electronically Filed


                                ENTRY OF APPEARANCE


     Kindly enter my appearance in this case on behalf of JENNIFER HEINL.


                                        Respectfully submitted,

                                        s/ Martin A. Dietz
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